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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

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IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2570
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This Document Relates to All Actions
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   ORDER ON THE COOK DEFENDANTS' MOTION TO MAINTAIN UNDER SEAL
  CERTAIN EXHIBITS TO PLAINTIFFS' STEERING COMMITTEE'S MOTION FOR
                         RELIEF FROM CMO-30


       Before the Court is a motion [Filing No. 22187] from the Cook Defendants seeking to

maintain under seal Exhibits H [Filing No. 22066-3] and I [Filing No. 22066-4] to Plaintiffs'

Steering Committee (PSC)'s Motion for Relief from CMO-30, or in the Alternative, Motion to

Amend CMO-30 [Filing No. 22064]. PSC filed Exhibits D, E, G, H, and I to its motion under

seal, but did not file a motion to maintain the exhibits under seal, as required by S.D. Ind. L.R. 5-

11. Cook argues that Exhibits H and I contain Cook confidential information. [Filing No.

22187, at ECF p. 2.]

       Specifically, Exhibit H is an excerpt from the June 30, 2017, deposition of Dr. David

Kessler that includes information about Cook's VCA-2 and VCA-3 animal studies related to its

IVC filters. [Filing No. 22066-3.] Cook argues that this exhibit constitutes a research and

development document, since it contains information related to Cook's internal product

development, research, and testing activities. [Filing No. 22187, at ECF p. 8.] Exhibit I is an
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excerpt from the expert report of Dr. Harlan Krumholz, that includes information about various

Cook studies, as well as Cook's internal communications related to product development and

regulatory compliance of its IVC filters. Cook similarly argues that this exhibit is a research and

development and regulatory affairs document, since it contains information related to Cook's

internal product development, research, testing, and regulatory affairs activities. Thus, Cook

argues that Exhibits H and I should be maintained under seal to protect Cook's confidential and

proprietary business and commercial information. Cook represents to the Court that it attempted

to contact Liaison Counsel to PSC and Plaintiffs' Co-Lead counsel, but did not receive a

response. [Filing No. 22187, at ECF p. 10.]

       Cook sets forth good cause for maintaining Exhibits H and I under seal, because they

contain, reference, or cite internal confidential and proprietary Cook information relating to and

concerning research and development and regulatory affairs. Disclosure of this information

would result in competitive harm to Cook. However, Cook does not address whether less

restrictive measures such as redaction would eliminate any concerns or otherwise provide a

redacted version of either document. Thus, Cook's motion to seal is granted. [Filing No. 22187.]

The Clerk is directed to maintain Exhibit H [Filing No. 22066-3] and Exhibit I [Filing No.

22066-4] under seal. However, Cook shall file a response within 14 days of this Court order

addressing whether redaction is possible and include a proposed publicly redacted version of

these documents if Cook believes it is possible to do so.

       Finally, the Court notes that Exhibits D [Filing No. 22066], E [Filing No. 22066-1], and

G [Filing No. 22066-2] were also filed under seal, without a corresponding motion to maintain

these documents under seal. Neither side has provided the Court with good cause to maintain




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these exhibits under seal. Thus, the Clerk is directed to unseal these filings after 21 days, absent

a motion to reconsider, appeal, or further Court order.

        Date: 6/28/2022



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                            Tim A. Baker
                            United States Magistrate Judge
                            Southern District of Indiana




Distribution to all registered counsel of record via the Court’s ECF system.




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